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14
                         UNITED STATES DISTRICT COURT
15
                        CENTRAL DISTRICT OF CALIFORNIA
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                       WESTERN DIVISION AT LOS ANGELES
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     BROIDY CAPITAL MANAGEMENT LLC
18   and ELLIOTT BROIDY,
                                                      Case No. 2:18-CV-02421-JFW-E
19                           Plaintiffs,
                                                      The Honorable John F. Walter
20         v.
21   STATE OF QATAR, STONINGTON                       NOTICE OF MOTION AND
     STRATEGIES LLC, NICOLAS D. MUZIN,                STONINGTON DEFENDANTS’
22   GLOBAL RISK ADVISORS LLC, KEVIN
     CHALKER, DAVID MARK POWELL,                      MOTION TO DISMISS THE
23   MOHAMMED BIN HAMAD BIN                           FIRST AMENDED
     KHALIFA AL THANI, AHMED AL-                      COMPLAINT
24   RUMAIHI, and DOES 1-10,
25                           Defendants.
26                                                    Hearing Date: August 13, 2018
27                                                    Hearing Time: 1:30 pm
                                                      Courtroom: 7A
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          TO THE CLERK OF THE COURT, ALL PARTIES AND THEIR
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     ATTORNEYS OF RECORD:
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          PLEASE TAKE NOTICE that on Monday, August 13, 2018, at 1:30 p.m., or as
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     soon thereafter as the matter may be heard in Courtroom 7A of the United States
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     District Court for the Central District of California, located at 350 West 1st Street,
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     Los Angeles, California 90012, Defendants Stonington Strategies LLC and Nicolas
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     D. Muzin (collectively “Stonington Defendants”) will and hereby do move this Court
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     for an order dismissing the first amended complaint as to the Stonington Defendants.
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          This motion is made following the conference of counsel discussing the
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     contemplated motion and any potential resolution on June 25, 2018, pursuant to Local
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     Rule 7-3 and this Court’s Standing Order, sect. 5(b) (Dkt. 17). The Stonington
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     Defendants, joined by Defendant State of Qatar, Defendant Global Risk Advisors
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     LLC, Defendant Kevin Chalker, and Plaintiffs, filed a Joint Statement on June 28,
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     2018 (Dkt. 117) in accordance with their obligations under the Court’s Standing Order
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     (Dkt. 17).
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          The Stonington Defendants request that the Court grant their motion to dismiss,
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     because the court lacks subject matter jurisdiction and personal jurisdiction over the
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     Stonington Defendants and Plaintiffs have failed to state a claim against the
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     Stonington Defendants. As discussed fully in the accompanying Memorandum of
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     Points and Authorities, the Stonington Defendants are immune from suit and
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     Plaintiffs have failed to allege that the Stonington Defendants took any actions in or
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     aimed at California. Further, Plaintiffs have failed to state a claim against the
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     Stonington Defendants on any of the ten causes of action alleged in the first amended
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     complaint. Finally, for all of the reasons in the State of Qatar’s memorandum in
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     support of its motion to dismiss, Dkt. 112-1 at 21-24, the case should be dismissed
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     because Qatar is a necessary party under Federal Rule of Civil Procedure 19.
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           The motion is based on this Notice of Motion, the attached Memorandum of
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     Points and Authorities, the pleadings filed in this action, the records of this Court, and
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     such other matters as may be raised before or during oral argument at the hearing on
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     this Motion.
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 7
     Dated: July 9, 2018                             Respectfully submitted,
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                                                     WILEY REIN LLP
 9
                                                     LECLAIRRYAN LLP
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11                                                   By: /s/ Stephen J. Obermeier
12                                                   Stephen J. Obermeier
13                                                   Attorney for Defendants Stonington
                                                     Strategies LLC and Nicolas D. Muzin
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